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»._.J ; on
IN THE UNITED STATES DISTRICT COURT M

115 wis 25 P'a 51 22 FoR THE WESTERN DISTRICT oF TENNESSE_-__E__,j_ § § § § §§§ § §§ 27

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EASTERN DIVISION

   

v, NO. 04-CV-1092

)
)
Plaintiff, )
)
§
JOHN ALDEN LIFE INSURANCE ) Juclge MCCalla
COMPANY, FORTIS INSURANCE ) Magistrate Judge Anderson
COMPANY AND EXAMINATION )
M_ANAGEMENT SERVICES, INC., )

)
Defendants. )

 

JOINT MOTION TO AMEND SCHEDULING ORDER

 

The parties to this case, Thomas L. Presgrove (“Plaintiff”), John Alden Life
Insurance Company (“Alden”), Fortis lnsurance Company (“Fortis”) and
Examination Management Services, lnc. (“EMSI”), (collectively "the Parties”),

jointly move the Court to amend the scheduling order as follower

1. Extend the deadline to complete discovery from May 31, 2005 to July
31, 2005;

2. Extend Plaintifi`s deadline to disclose expert information from June 30,
2005 to August 30, 2005;

3. Extend Defendants’ deadline to disclose expert information from July
31, 2005 to September 30, 2005;

4. Extend the deadline for expert Witness depositions from August 31,

MOT|ON GRANTED

2005 to October 15, 2005; and - -2§’-

S. Thomas Anderson

This document emered on the docket she t `m compliance u_s_ Magimw Judge
with Rule 58 and/or ?9(5) FHCP on _\S__!j_ ' 05 __

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5. Extend the deadline to file dispositive motions from September 20,

2005 to October 31, 2005.

The trial of this matter Will remain set to begin on January 23, 2006.

As grounds for this motion, the Parties state that they have been engaged in
settlement discussions and are attempting to schedule a mediation

The Parties request that the Court schedule a teleconference with all counsel

to discuss proposed changes to the scheduling order.

RESPECTFULLY SUBMITTED:

/“/

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Case 1:04-cV-01092-.]P|\/|-STA Document 50 Filed 05/24/05 Page 3 of 4 Page|D 80

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Attorn,eys for Examination Management
Services, Inc.

CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing document has been served by
facsimile and U.S. Mail on:

Charles M. Agee, Jr.

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on this the l}: day of l Lé{¢] , 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 1:04-CV-01092 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

iitn¢ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

